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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LATHEA SMYLES,                                       )
                                                     )
       Plaintiff,                                    )
                                                     )
               v.                                    )       No.
                                                     )
NEWELL BRANDS, INC.; SUNBEAM                         )
PRODUCTS, INC.;                                      )       JURY DEMANDED
                                                     )
       Defendants.                                   )

                                    COMPLAINT AT LAW

       NOW COMES Plaintiff LATHEA SMYLES, by and through her attorneys POWER

ROGERS, LLP, and hereby complaining of Defendants NEWELL BRANDS, INC., and

SUNBEAM PRODUCTS, INC., pleading hypothetically and in the alternative, states as follows:

                                 JURISDICTION AND VENUE

       This Court has jurisdiction pursuant to 28 U.S.C. § 1332. Plaintiff Lathea Smyles is a

County of Cook, State of Illinois resident. Defendant Newell Brands, Inc., is a Delaware

Corporation with its corporate residence in Atlanta, Georgia. Defendant Sunbeam Products, Inc.,

is a Delaware Corporation with its corporate residence in Boca Raton, Florida. The incident

giving rise to this lawsuit occurred in Highland, Indiana. The amount in controversy exceeds

$75,000.00. Venue is proper in the Northern District of Illinois, Eastern Division.

                                            PARTIES

       Plaintiff Lathea Smyles is a resident of the County of Cook, State of Illinois.

       Defendant Newell Brands, Inc., (hereinafter referred to as “Newell”) is the parent

corporation of Defendant Sunbeam Products, Inc., (hereinafter referred to as “Sunbeam”).
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Defendants designed, manufactured, and distributed certain crock pot pressure cookers,

including the one at issue in this case model number SCCPPC600-V1.

                                   COMMON ALLEGATIONS

   1. On or about February 15, 2021, and at all times material, Plaintiff LATHEA SMYLES

       was a resident of the City of Markham, County of Cook, State of Illinois.

   2. On or about February 15, 2021, and at all times material, Defendant SUNBEAM was a

       foreign corporation licensed to do business in the State of Illinois.

   3. On or about February 15, 2021, and at all times material, Defendant SUNBEAM did

       business in the State of Illinois.

   4. On or about February 15, 2021, and at all times material, Defendant NEWELL was a

       foreign corporation licensed to do business in the State of Illinois.

   5. On or about February 15, 2021, and at all times material, Defendant NEWELL did

       business in the State of Illinois.

   6. On and prior to February 15, 2021, Defendant SUNBEAM was one of Defendant

       NEWELL’s brands.

   7. On and prior to February 15, 2021, Defendant NEWELL was the parent company of

       Defendant SUNBEAM.

   8. On and prior to February 15, 2021, and at all times material, Defendant SUNBEAM

       manufactured, marketed, and sold certain crock pot multi-cooker pressure cookers.

   9. On and prior to February 15, 2021, and at all times material, Defendant NEWELL

       manufactured, marketed, and sold certain crock pot multi-cooker pressure cookers.




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10. On and prior to February 15, 2021, and at all times material, HOME DEPOT marketed

   and sold certain crock pot multi-cooker pressure cookers manufactured by Defendants

   SUNBEAM and NEWELL.

11. Prior to February 15, 20121, and at all times material, Plaintiff SMYLES purchased a

   crock pot multi-cooker pressure cooker manufactured by Defendant SUNBEAM.

12. Prior to February 15, 20121, and at all times material, Plaintiff SMYLES purchased a

   crock pot multi-cooker pressure cooker manufactured by Defendant NEWELL.

13. Prior to February 15, 20121, and at all times material, Plaintiff SMYLES purchased a

   crock pot multi-cooker pressure cooker at Home Depot.

14. The aforementioned crock pot multi-cooker pressure cooker purchased by Plaintiff

   SMYLES was a Sunbeam Products, Inc. crock pot pressure cooker, model SCCPPC600-

   V1.

15. The aforementioned crock pot pressure cooker purchased by Plaintiff SMYLES was “for

   household use only.”

16. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM advertised

   the aforementioned crock pot pressure cooker as “Trusted”.

17. Prior to February 15, 2021, and at all times material, Defendant NEWELL advertised the

   aforementioned crock pot pressure cooker as “Trusted.”

18. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM advertised

   the aforementioned crock pot pressure cooker as “featuring a locking, air-tight lid that

   stays sealed under pressure for a total peace of mind.”




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19. Prior to February 15, 2021, and at all times material, Defendant NEWELL advertised the

   aforementioned crock pot pressure cooker as “featuring a locking, air-tight lid that stays

   sealed under pressure for a total peace of mind.”

20. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM marketed the

   aforementioned crock pot pressure cooker as “the Crock-Pot brand is a leader in one pot

   cooking.”

21. Prior to February 15, 2021, and at all times material, Defendant NEWELL marketed the

   aforementioned crock pot pressure cooker as “the Crock-Pot brand is a leader in one pot

   cooking.”

22. Prior to February 15, 2021 and at all times material, Defendant SUNBEAM set forth the

   safety features in the Owner’s Guide of the aforementioned crock pot pressure cooker.

23. Prior to February 15, 2021 and at all times material, Defendant NEWELL set forth the

   safety features in the Owner’s Guide of the aforementioned crock pot pressure cooker.

24. Prior to February 15, 2021 and at all times material, Defendant SUNBEAM’s Owner’s

   Guide for the aforementioned crock pot stated that it was “Designed with an airtight

   locking lid stays sealed under pressure for added safety.”

25. Prior to February 15, 2021 and at all times material, Defendant NEWELL’s Owner’s

   Guide for the aforementioned crock pot stated that it was “Designed with an airtight

   locking lid stays sealed under pressure for added safety.”

26. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM engaged in

   online, print, and media marketing efforts to inform potential users and/or purchasers,

   including Plaintiff SMYLES, that the aforementioned crock pot was trusted, safe, and

   useful.


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27. Prior to February 15, 2021, and at all times material, Defendant NEWELL engaged in

   online, print, and media marketing efforts to inform potential users and/or purchasers,

   including Plaintiff SMYLES, that the aforementioned crock pot was trusted, safe, and

   useful.

28. Prior to February 15, 2021, and at all times material, the aforementioned crock pot

   generated extreme heat and steam when in use.

29. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM was aware

   that in the aforementioned crock pot pressure steam builds up and causes its scalding hot

   contents to burst and erupt from the device.

30. Prior to February 15, 2021, and at all times material, Defendant NEWELL was aware that

   in the aforementioned crock pot pressure steam builds up and causes its scalding hot

   contents to burst and erupt from the device.

31. Prior to February 15, 2021, and at all times material, the aforementioned crock pot

   pressure cookers designed, manufactured, marketed, and sold by Defendant SUNBEAM

   had certain defects, including without limit, a defective pressure release valve, a

   misaligned locking arrow indicator, a locking pin which was too short and/or inadequate

   to prevent the lid from opening while under pressure, a strike plate made of material

   inadequate and/or insufficient to prevent the lid from opening while under pressure, a

   faulty gasket that allows the lid to open despite the presence of significant built-up

   pressure, inadequate warnings, and/or failures of other purported built-inn safety

   feature(s) designed to prevent the lid from opening until all the pressure was released.

32. Prior to February 15, 2021, and at all times material, the aforementioned crock pot

   pressure cookers designed, manufactured, marketed, and sold by Defendant NEWELL


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   had certain defects, including without limit, a defective pressure release valve, a

   misaligned locking arrow indicator, a locking pin which was too short and/or inadequate

   to prevent the lid from opening while under pressure, a strike plate made of material

   inadequate and/or insufficient to prevent the lid from opening while under pressure, a

   faulty gasket that allows the lid to open despite the presence of significant built-up

   pressure, inadequate warnings, and/or failures of other purported built-in safety feature(s)

   designed to prevent the lid from opening until all the pressure was released.

33. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM knew or

   should have known of the aforementioned defects in the aforementioned crock pot

   pressure cooker.

34. Prior to February 15, 2021, and at all times material, Defendant NEWELL knew or

   should have known of the aforementioned defects in the aforementioned crock pot

   pressure cooker.

35. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM failed to

   warn consumers, including without limit Plaintiff SMYLES, of the aforementioned

   defects in the aforementioned crock pot pressure cooker.

36. Prior to February 15, 2021, and at all times material, Defendant NEWELL failed to warn

   consumers, including without limit Plaintiff SMYLES, of the aforementioned defects in

   the aforementioned crock pot pressure cooker.

37. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM represented

   to consumers, including without limit Plaintiff SMYLES, the safety of the

   aforementioned crock pot pressure cooker.




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38. Prior to February 15, 2021, and at all times material, Defendant NEWELL represented to

   consumers, including without limit Plaintiff SMYLES, the safety of the aforementioned

   crock pot pressure cooker.

39. Prior to February 15, 2021, and at all times material, Plaintiff SMYLES cooked in the

   aforementioned crock pot multi-cooker pressure cooker.

40. Around 2019, Plaintiff SMYLES purchased a Sunbeam Products, Inc. crock pot pressure

   cooker, model SCCPPC600-V1.

41. At all times material, the aforementioned crock pot pressure cooker purchased by

   Plaintiff SMYLES was in its original unopened packaging and had not been modified in

   any fashion.

42. At all times material, the aforementioned crock pot pressure cooker purchased by

   Plaintiff SMYLES packaging contained an instruction manual.

43. At all times material, Plaintiff SMYLES read the aforementioned instruction manual

   prior to using the crock pot pressure cooker.

44. At all times material, Plaintiff SMYLES followed the instruction manual at all times

   when using the crock pot pressure cooker.

45. On or about February 15, 2021, and at all times material, Plaintiff SMYLES was using

   the aforementioned crock pot pressure cooker to cook beans.

46. Prior to February 15, 2021, and at all times material, Plaintiff SMYLES had used the

   aforementioned crock pot pressure cooker to cook beans in the past.

47. On or about February 15, 2021, and at all times material, Plaintiff SMYLES followed the

   instructions for the aforementioned crock pot pressure cooker when cooking beans.




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48. On or about February 15, 2021, and at all times material, the aforementioned crock pot

   pressure cooker indicated that it had finished cooking.

49. On or about February 15, 2021, and at all times material, the aforementioned crock pot

   pressure cooker indicated that it was no longer under pressure.

50. On or about February 15, 2021, and at all times material, the aforementioned crock pot

   pressure cooker indicated that was safe to open.

51. On or about February 15, 2021, and at all times material, Plaintiff SMYLES walked over

   to the aforementioned crock pot pressure cooker and suddenly and without warning the

   top exploded off of it causing the contents, including scalding hot liquid, and steam to fly

   out onto Plaintiff SMYLES.

52. On or about February 15, 2021, and at all times material, Plaintiff SMYLES was using

   the aforementioned crock pot pressure cooker in a manner which was intended,

   reasonable, and foreseeable.

53. As a direct and proximate result of the aforementioned explosion of the crock pot

   pressure cooker and expelling its contents, Plaintiff SMYLES has sustained severe and

   permanent injuries; has endured and will in the future endure pain and suffering; has

   incurred and will permanently in the future incur obligations for substantial sums of

   money for medical expenses; has incurred expenses for lost wages; has been disabled and

   disfigured; and has suffered emotional distress.




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                                         COUNT I

                            (SUNBEAM – Products Liability)

54. Plaintiff hereby adopts allegations 1-53 set forth above as if alleged herein.

55. At all times material, Defendant SUNBEAM designed, manufactured, distributed, sold,

   and introduced into the stream of commerce the crock pot pressure cooker purchased and

   used by Plaintiff SMYLES.

56. On or February 15, 2021 the crock pot pressure cooker purchased and used by Plaintiff

   SMYLES failed to perform in a manner reasonably expected in light of its nature and

   intended function when it failed and caused severe and permanent injuries to the Plaintiff

   SMYLES.

57. On or about February 15, 2021, the crock pot pressure cooker was within its anticipated

   useful life when it failed.

58. At all times material, the crock pot pressure cooker was in the same condition when it

   reached the Plaintiff as when it left Defendant SUNBEAM’s control.

59. That the failure of the crock pot pressure cooker would not have occurred absence a

   defect or unreasonably dangerous condition within it.

60. The injuries sustained by Plaintiff SMYLES were caused by Defendant SUNBEAM’s

   distribution of a defective product which was unreasonably dangerous to the ultimate

   users and consumers of the product for which Defendant SUNMAN is strictly liable

   pursuant to the provisions of Section 402A of the Restatement (Second) of Torts.

61. On or about February 15, 2021, and at all times material, Defendant SUNBEAM’s crock

   pot pressure cooker model SCCPPC600-V1 was defective and unreasonably dangerous in

   one or more of the following respects:


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       a. It was designed, manufactured, and distributed with a defective pressure release

           valve; or

       b. It was designed, manufactured, and distributed with a misaligned locking arrow

           indicator; or

       c. It was designed, manufactured, and distributed with a locking pin that was too

           short and/or inadequate to prevent the lid from opening while under pressure; or

       d. It was designed, manufactured, and distributed with a strike plate made of

           material inadequate and/or insufficient to prevent the lid from opening while

           under pressure; or

       e. It was designed, manufactured, and distributed with a faulty gasket that allows the

           lid to open despite the presence of significant built-up pressure; or

       f. It was designed, manufactured, and distributed with inadequate warnings; or

       g. It was designed, manufactured, and distributed with failures of other purported

           built-in safety features designed to prevent the lid from opening until all the

           pressure was released; or

       h. It lacked protection against other failures.

62. As a direct and proximate result of one or more of the unreasonably dangerous

conditions, Plaintiff SMYLES has sustained severe and permanent injuries; has endured and

will in the future endure pain and suffering; has incurred and will permanently in the future

incur obligations for substantial sums of money for medical expenses; has incurred expenses

for lost wages; has been disabled and disfigured; and has suffered emotional distress.

   WHEREFORE Plaintiff LATHEA SMYLES, by and through her attorneys POWER

ROGERS LLP, hereby demands judgment against Defendant SUNBEAM PRODUCTS,


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INC., in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) as shall

represent fair and just compensation.




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                                        COUNT II

                                 (SUNBEAM – Negligence)

54. Plaintiff hereby adopts allegations 1-53 set forth above as if alleged herein.

55. At all times material, Defendant SUNBEAM designed, manufactured, distributed, sold,

   and introduced into the stream of commerce the crock pot pressure cooker purchased and

   used by Plaintiff SMYLES.

56. On or February 15, 2021, the crock pot pressure cooker purchased and used by Plaintiff

   SMYLES failed to perform in a manner reasonably expected in light of its nature and

   intended function when it failed and caused severe and permanent injuries to the Plaintiff

   SMYLES.

57. On or about February 15, 2021, the crock pot pressure cooker was within its anticipated

   useful life when it failed.

58. At all times material, the crock pot pressure cooker was in the same condition when it

   reached the Plaintiff as when it left Defendant SUNBEAM’s control.

59. That the failure of the crock pot pressure cooker would not have occurred absence a

   defect or unreasonably dangerous condition within it.

60. On and prior to February 15, 2021, and at all times material, Defendant SUNBEAM

   owed Plaintiff SMYLES as duty to use reasonable care in the designing, manufacturing,

   testing, inspecting, distributing, selling, and/or marketing of the crock pot pressure

   cooker.

61. On and prior to February 15, 2021, and at all times material, Defendant SUNBEAM

   owed Plaintiff SMYLES a duty to adequately warn of the dangers presented by the

   design of the crock pot pressure cooker.


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62. On and prior to February 15, 2021, and at all times material, Defendant SUNBEAM

knew or should have known that the design, manufacturing, and/or marketing of the crock

pot pressure cooker would have reasonably led to the occurrence and Plaintiff’s injuries.

63. On or about February 15, 2021, and at all times material, Defendant SUNBEAM was

   then and there negligent in one or more of the following respects:

       a. Negligently designed, manufactured, and distributed with a defective pressure

           release valve; or

       b. Negligently designed, manufactured, and distributed with a misaligned locking

           arrow indicator; or

       c. Negligently designed, manufactured, and distributed with a locking pin that was

           too short and/or inadequate to prevent the lid from opening while under pressure;

           or

       d. Negligently designed, manufactured, and distributed with a strike plate made of

           material inadequate and/or insufficient to prevent the lid from opening while

           under pressure; or

       e. Negligently designed, manufactured, and distributed with a faulty gasket that

           allows the lid to open despite the presence of significant built-up pressure; or

       f. Negligently designed, manufactured, and distributed with inadequate warnings; or

       g. Negligently designed, manufactured, and distributed with failures of other

           purported built-in safety features designed to prevent the lid from opening until all

           the pressure was released; or

       h. Negligently lacked protection against other failures of the crock pot pressure

           cookers; or


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           i. Was not of average fair quality so as to pass without objection in the trade; or

           j. Was not fit for the ordinary purpose for which it was sold or used; or

           k. Was not overall safe; or

           l. Was otherwise negligent.

   64. As a direct and proximate result of one or more of Defendant SUNBEAM’s negligent

   acts and/or omissions, Plaintiff SMYLES has sustained severe and permanent injuries; has

   endured and will in the future endure pain and suffering; has incurred and will permanently

   in the future incur obligations for substantial sums of money for medical expenses; has

   incurred expenses for lost wages; has been disabled and disfigured; and has suffered

   emotional distress.

   WHEREFORE Plaintiff LATHEA SMYLES, by and through her attorneys POWER

ROGERS LLP, hereby demands judgment against Defendant SUNBEAM PRODUCTS, INC., in

an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) as shall represent fair and

just compensation.




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                                        COUNT III

                       (SUNBEAM - Breach of Express Warranty)

54. Plaintiff hereby adopts allegations 1-53 set forth above as if alleged herein.

55. At all times material, Defendant SUNBEAM designed, manufactured, distributed, sold,

   and introduced into the stream of commerce the crock pot pressure cooker purchased and

   used by Plaintiff SMYLES.

56. On or February 15, 2021 the crock pot pressure cooker purchased and used by Plaintiff

   SMYLES failed to perform in a manner reasonably expected in light of its nature and

   intended function when it failed and caused severe and permanent injuries to the Plaintiff

   SMYLES.

57. On or about February 15, 2021, the crock pot pressure cooker was within its anticipated

   useful life when it failed.

58. At all times material, the crock pot pressure cooker was in the same condition when it

   reached the Plaintiff as when it left Defendant SUNBEAM’s control.

59. That the failure of the crock pot pressure cooker would not have occurred absence a

   defect or unreasonably dangerous condition within it.

60. Prior to February 15, 2021, Defendant SUNBEAM designed, manufactured, assembled,

   distributed, inspected, tested, and/or sold the crock pot pressure cooker.

61. Prior to February 15, 2021, Defendant SUNBEAM expressly warranted that the crock pot

   pressure cooker was safe for ordinary use when used in compliance with the instructions

   provided.




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62. Prior to February 15, 2021, Defendant SUNBEAM’s affirmations regarding the safety of

   its product formed a basis of the bargain for Plaintiff SMYLES without which Plaintiff

   SMYLES would not have purchased and/or used the crock pot pressure cooker.

63. That Plaintiff SMYLES detrimentally relied upon the materially false and misleading

   representations of Defendant SUNBEAM.

64. That the aforementioned crock pot pressure cooker did not conform to Defendant

   SUNBEAM’s affirmations regarding safety.

65. Defendant SUNBEAM breached its express warranties as to the safety of its product to

   Plaintiff SMYLES in one or more of the following respects:

       a. It was designed, manufactured, and distributed with a defective pressure release

          valve; or

       b. It was designed, manufactured, and distributed with a misaligned locking arrow

          indicator; or

       c. It was designed, manufactured, and distributed with a locking pin that was too

          short and/or inadequate to prevent the lid from opening while under pressure; or

       d. It was designed, manufactured, and distributed with a strike plate made of

          material inadequate and/or insufficient to prevent the lid from opening while

          under pressure; or

       e. It was designed, manufactured, and distributed with a faulty gasket that allows the

          lid to open despite the presence of significant built-up pressure; or

       f. It was designed, manufactured, and distributed with inadequate warnings; or




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           g. It was designed, manufactured, and distributed with failures of other purported

              built-in safety features designed to prevent the lid from opening until all the

              pressure was released; or

           a. It lacked protection against other failures; or

           b. Was not of average fair quality so as to pass without objection in the trade; or

           c. Was not fit for the ordinary purpose for which it was sold or used; or

           h. Was not overall safe.

   66. As a direct and proximate result of one or more of the breaches of express warranty by

       Defendant SUNBEAM, Plaintiff SMYLES has sustained severe and permanent injuries;

       has endured and will in the future endure pain and suffering; has incurred and will

       permanently in the future incur obligations for substantial sums of money for medical

       expenses; has incurred expenses for lost wages; has been disabled and disfigured; and has

       suffered emotional distress.

   WHEREFORE Plaintiff LATHEA SMYLES, by and through her attorneys POWER

ROGERS LLP, hereby demands judgment against Defendant SUNBEAM PRODUCTS, INC., in

an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) as shall represent fair and

just compensation.




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                                        COUNT IV

             (SUNBEAM – Breach of Implied Warranty of Merchantability)

54. Plaintiff hereby adopts allegations 1-53 set forth above as if alleged herein.

55. At all times material, Defendant SUNBEAM designed, manufactured, distributed, sold,

   and introduced into the stream of commerce the crock pot pressure cooker purchased and

   used by Plaintiff SMYLES.

56. On or February 15, 2021 the crock pot pressure cooker purchased and used by Plaintiff

   SMYLES failed to perform in a manner reasonably expected in light of its nature and

   intended function when it failed and caused severe and permanent injuries to the Plaintiff

   SMYLES.

57. On or about February 15, 2021, the crock pot pressure cooker was within its anticipated

   useful life when it failed.

58. At all times material, the crock pot pressure cooker was in the same condition when it

   reached the Plaintiff as when it left Defendant SUNBEAM’s control.

59. That the failure of the crock pot pressure cooker would not have occurred absence a

   defect or unreasonably dangerous condition within it.

60. Prior to February 15, 2021, Defendant SUNBEAM designed, manufactured, assembled,

   distributed, inspected, tested, and/or sold the crock pot pressure cooker.

61. Prior to February 15, 2021, Defendant SUNBEAM impliedly warranted that the crock pot

   pressure cooker was safe for ordinary use when used in compliance with the instructions

   provided.




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62. Prior to February 15, 2021, Defendant SUNBEAM’s implied warranties regarding the

   safety of its product formed a basis of the bargain for Plaintiff SMYLES without which

   Plaintiff SMYLES would not have purchased and/or used the crock pot pressure cooker.

63. That Plaintiff SMYLES detrimentally relied upon the materially false and misleading

   representations of Defendant SUNBEAM.

64. That the aforementioned crock pot pressure cooker did not conform to Defendant

   SUNBEAM’s implied warranties regarding safety.

65. Defendant SUNBEAM breached its implied warranties as to the safety of its product to

   Plaintiff SMYLES in one or more of the following respects:

       a. It was designed, manufactured, and distributed with a defective pressure release

          valve; or

       b. It was designed, manufactured, and distributed with a misaligned locking arrow

          indicator; or

       c. It was designed, manufactured, and distributed with a locking pin that was too

          short and/or inadequate to prevent the lid from opening while under pressure; or

       d. It was designed, manufactured, and distributed with a strike plate made of

          material inadequate and/or insufficient to prevent the lid from opening while

          under pressure; or

       e. It was designed, manufactured, and distributed with a faulty gasket that allows the

          lid to open despite the presence of significant built-up pressure; or

       f. It was designed, manufactured, and distributed with inadequate warnings; or




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           g. It was designed, manufactured, and distributed with failures of other purported

              built-in safety features designed to prevent the lid from opening until all the

              pressure was released; or

           h. It lacked protection against other failures; or

           i. Was not of average fair quality so as to pass without objection in the trade; or

           j. Was not fit for the ordinary purpose for which it was sold or used; or

           k. Was not overall safe.

   66. As a direct and proximate result of one or more of the breaches of implied warranty by

       Defendant SUNBEAM, Plaintiff SMYLES has sustained severe and permanent injuries;

       has endured and will in the future endure pain and suffering; has incurred and will

       permanently in the future incur obligations for substantial sums of money for medical

       expenses; has incurred expenses for lost wages; has been disabled and disfigured; and has

       suffered emotional distress.

   WHEREFORE Plaintiff LATHEA SMYLES, by and through her attorneys POWER

ROGERS LLP, hereby demands judgment against Defendant SUNBEAM PRODUCTS, INC., in

an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) as shall represent fair and

just compensation.




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                                        COUNT V

     (SUNBEAM – Breach of Implied Warranty of Fitness for a Particular Purpose)

54. Plaintiff hereby adopts allegations 1-53 set forth above as if alleged herein.

55. At all times material, Defendant SUNBEAM designed, manufactured, distributed, sold,

   and introduced into the stream of commerce the crock pot pressure cooker purchased and

   used by Plaintiff SMYLES.

56. On or February 15, 2021 the crock pot pressure cooker purchased and used by Plaintiff

   SMYLES failed to perform in a manner reasonably expected in light of its nature and

   intended function when it failed and caused severe and permanent injuries to the Plaintiff

   SMYLES.

57. On or about February 15, 2021, the crock pot pressure cooker was within its anticipated

   useful life when it failed.

58. At all times material, the crock pot pressure cooker was in the same condition when it

   reached the Plaintiff as when it left Defendant SUNBEAM’s control.

59. That the failure of the crock pot pressure cooker would not have occurred absence a

   defect or unreasonably dangerous condition within it.

60. Prior to February 15, 2021, Defendant SUNBEAM designed, manufactured, assembled,

   distributed, inspected, tested, and/or sold the crock pot pressure cooker.

61. Prior to February 15, 2021, Defendant SUNBEAM, by and through its agents and/or

   employees, made representations and promotions concerning the particular purpose to

   which Plaintiff SMYLES would put the crock pot pressure cooker to use.




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62. Prior to February 15, 2021, Defendant SUNBEAM, by and through its agents and/or

   employees, knew or should have known of the particular purpose that Plaintiff SMYLES

   would put the crock pot pressure cooker to use.

63. Prior to February 15, 2021, Defendant SUNBEAM impliedly warranted that the crock pot

   pressure cooker was safe for ordinary use when used in compliance with the instructions

   provided.

64. Prior to February 15, 2021, Defendant SUNBEAM impliedly warranted that the crock

    pot pressure cooker was safe for the particular purposes that Plaintiff SMYLES put it to

    use.

65. Prior to February 15, 2021, Defendant SUNBEAM’s implied warranties for fitness for a

   particular purpose regarding the safety of its product to Plaintiff SMYLES.

66. Prior to February 15, 2021, Plaintiff SMYLES would not have purchased and/or used the

   crock pot pressure cooker without Defendant SUNBEAM’s implied warranties for fitness

   for a particular purpose.

67. That Plaintiff SMYLES detrimentally relied upon the materially false and misleading

   representations of Defendant SUNBEAM.

68. That the aforementioned crock pot pressure cooker did not conform to Defendant

   SUNBEAM’s implied warranties of fitness for a particular purpose.

69. Defendant SUNBEAM breached its implied warranties for fitness for a particular purpose

   to Plaintiff SMYLES in one or more of the following respects:

       a. It was designed, manufactured, and distributed with a defective pressure release

           valve; or




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       b. It was designed, manufactured, and distributed with a misaligned locking arrow

           indicator; or

       c. It was designed, manufactured, and distributed with a locking pin that was too

           short and/or inadequate to prevent the lid from opening while under pressure; or

       d. It was designed, manufactured, and distributed with a strike plate made of

           material inadequate and/or insufficient to prevent the lid from opening while

           under pressure; or

       e. It was designed, manufactured, and distributed with a faulty gasket that allows the

           lid to open despite the presence of significant built-up pressure; or

       f. It was designed, manufactured, and distributed with inadequate warnings; or

       g. It was designed, manufactured, and distributed with failures of other purported

           built-in safety features designed to prevent the lid from opening until all the

           pressure was released; or

       h. It lacked protection against other failures; or

       i. Was not of average fair quality so as to pass without objection in the trade; or

       j. Was not fit for the ordinary purpose for which it was sold or used; or

       k. Was not overall safe.

70. As a direct and proximate result of one or more of the breaches of implied warranty of

   fitness for a particular purpose by Defendant SUNBEAM, Plaintiff SMYLES has

   sustained severe and permanent injuries; has endured and will in the future endure pain

   and suffering; has incurred and will permanently in the future incur obligations for

   substantial sums of money for medical expenses; has incurred expenses for lost wages;

   has been disabled and disfigured; and has suffered emotional distress.


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   WHEREFORE Plaintiff LATHEA SMYLES, by and through her attorneys POWER

ROGERS LLP, hereby demands judgment against Defendant SUNBEAM PRODUCTS, INC., in

an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) as shall represent fair and

just compensation.




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                                         COUNT VI

                                 (SUNBEAM – Failure to Warn)

54. Plaintiff hereby adopts allegations 1-53 set forth above as if alleged herein.

55. At all times material, Defendant SUNBEAM designed, manufactured, distributed, sold,

   and introduced into the stream of commerce the crock pot pressure cooker purchased and

   used by Plaintiff SMYLES.

56. On or February 15, 2021, the crock pot pressure cooker purchased and used by Plaintiff

   SMYLES failed to perform in a manner reasonably expected in light of its nature and

   intended function when it failed and caused severe and permanent injuries to the Plaintiff

   SMYLES.

57. On or about February 15, 2021, the crock pot pressure cooker was within its anticipated

   useful life when it failed.

58. At all times material, the crock pot pressure cooker was in the same condition when it

   reached the Plaintiff as when it left Defendant SUNBEAM’s control.

59. That the failure of the crock pot pressure cooker would not have occurred absence a

   defect or unreasonably dangerous condition within it.

60. Prior to February 15, 2021, Defendant SUNBEAM designed, manufactured, assembled,

   distributed, inspected, tested, and/or sold the crock pot pressure cooker.

61. Prior to February 15, 2021, Defendant SUNBEAM, knew or should have known of the

   dangerous nature of the crock pot pressure.

62. Prior to February 15, 2021, Defendant SUNBEAM, by and through its agents and/or

   employees, knew or should have known of the need to provide adequate warnings




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   concerning the use of the crock pot pressure cooker to consumers, including but without

   limit Plaintiff SMYLES.

63. Prior to February 15, 2021, and at all times material, Defendant SUNBEAM had a duty to

   provide reasonable warnings of the dangers involved in the use of the crock pot pressure

   cooker.

64. At all times material, Defendant SUNBEAM failed to provide the public, including

   Plaintiff SMYLES, with notice of the danger involved in the use of the crock pot pressure

   cooker.

65. Defendant SUNBEAM breached its duty to warn Plaintiff SMYLES of the dangers of use

   of the crock pot pressure cooker in one or more of the following respects:

       a. Failed to warn that it was designed, manufactured, and distributed with a

             defective pressure release valve; or

       b. Failed to warn that it was designed, manufactured, and distributed with a

             misaligned locking arrow indicator; or

       c. Failed to warn that it was designed, manufactured, and distributed with a locking

             pin that was too short and/or inadequate to prevent the lid from opening while

             under pressure; or

       d. Failed to warn that it was designed, manufactured, and distributed with a strike

             plate made of material inadequate and/or insufficient to prevent the lid from

             opening while under pressure; or

       e. Failed to warn that it was designed, manufactured, and distributed with a faulty

             gasket that allows the lid to open despite the presence of significant built-up

             pressure; or


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       f. Failed to warn that it was designed, manufactured, and distributed with

           inadequate warnings; or

       g. Failed to warn that it was designed, manufactured, and distributed with failures of

           other purported built-in safety features designed to prevent the lid from opening

           until all the pressure was released; or

       h. Failed to warn that it lacked protection against other failures; or

       i. Failed to warn that it was not fit for the ordinary purpose for which it was sold or

           used; or

       j. Failed to warn that it was not overall safe.

66. As a direct and proximate result of one or more of the failures to warn by Defendant

   SUNBEAM, Plaintiff SMYLES has sustained severe and permanent injuries; has endured

   and will in the future endure pain and suffering; has incurred and will permanently in the

   future incur obligations for substantial sums of money for medical expenses; has incurred

   expenses for lost wages; has been disabled and disfigured; and has suffered emotional

   distress.

   WHEREFORE Plaintiff LATHEA SMYLES, by and through her attorneys POWER

ROGERS LLP, hereby demands judgment against Defendant SUNBEAM PRODUCTS,

INC., in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) as shall

represent fair and just compensation.



                                COUNT VII
     (SUNBEAM – Illinois Consumer Fraud and Deceptive Business Practices Act)

67. Plaintiff hereby adopts allegations 1-53 set forth above as if alleged herein.




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68. At all times material, Defendant SUNBEAM designed, manufactured, distributed, sold,

   and introduced into the stream of commerce the crock pot pressure cooker purchased and

   used by Plaintiff SMYLES.

69. On or February 15, 2021 the crock pot pressure cooker purchased and used by Plaintiff

   SMYLES failed to perform in a manner reasonably expected in light of its nature and

   intended function when it failed and caused severe and permanent injuries to the Plaintiff

   SMYLES.

70. On or about February 15, 2021, the crock pot pressure cooker was within its anticipated

   useful life when it failed.

71. At all times material, the crock pot pressure cooker was in the same condition when it

   reached the Plaintiff as when it left Defendant SUNBEAM’s control.

72. That the failure of the crock pot pressure cooker would not have occurred absence a

   defect or unreasonably dangerous condition within it.

73. Prior to February 15, 2021, Defendant SUNBEAM designed, manufactured, assembled,

   distributed, inspected, tested, and/or sold the crock pot pressure cooker.

74. Prior to February 15, 2021, Defendant SUNBEAM, by and through its agents and/or

   employees, committed fraudulent and deceptive business practices in one or more of the

   following respects in regard to the crock pot pressure cooker:

       a. Failed to disclose or warn users of the crock pot pressure cooker of the hazards

           and dangers associated with it; or

       b. Failed to disclose or warn that it was designed, manufactured, and distributed with

           a defective pressure release valve; or




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     c. Failed to disclose or warn that it was designed, manufactured, and distributed with

        a misaligned locking arrow indicator; or

     d. Failed to disclose or warn that it was designed, manufactured, and distributed with

        a locking pin that was too short and/or inadequate to prevent the lid from opening

        while under pressure; or

     e. Failed to disclose or warn that it was designed, manufactured, and distributed with

        a strike plate made of material inadequate and/or insufficient to prevent the lid

        from opening while under pressure; or

     f. Failed to disclose or warn that it was designed, manufactured, and distributed with

        a faulty gasket that allows the lid to open despite the presence of significant built-

        up pressure; or

     g. Failed to disclose or warn that it was designed, manufactured, and distributed with

        inadequate warnings; or

     h. Failed to disclose or warn that it was designed, manufactured, and distributed with

        failures of other purported built-in safety features designed to prevent the lid from

        opening until all the pressure was released; or

     i. Failed to disclose or warn that it lacked protection against other failures; or

     j. Failed to disclose or warn that it was not fit for the ordinary purpose for which it

        was sold or used; or

     k. Failed to disclose or warn that it was not overall safe; or

     l. Failed to disclose or warn that it was dangerous and defective; or

     m. Failed to implement appropriate policies and procedures; or

     n. Represented that the product was safe for its intended use.


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   75. That Defendant SUNBEAM knew or should have known that the aforementioned failures

       to warn and representations were deceptive and fraudulent to consumers, including

       Plaintiff SMYLES.

   76. That Defendant SUNBEAM intended for consumers, including Plaintiff SMYLES, to

       rely upon its representations in regard to the crock pot pressure cooker.

   77. That Defendant SUNBEAM’s deceptive and fraudulent statements were during the

       course of commerce as it was in the marketing and sales of the crock pot pressure cooker

       to consumers, including Plaintiff SMYLES.

   78. As a direct and proximate result of one or more of the aforementioned deceptive practices

       and/or fraudulent statements by Defendant SUNBEAM, Plaintiff SMYLES has sustained

       severe and permanent injuries; has endured and will in the future endure pain and

       suffering; has incurred and will permanently in the future incur obligations for substantial

       sums of money for medical expenses; has incurred expenses for lost wages; has been

       disabled and disfigured; and has suffered emotional distress.

   WHEREFORE Plaintiff LATHEA SMYLES, by and through her attorneys POWER

ROGERS LLP, hereby demands judgment against Defendant SUNBEAM PRODUCTS, INC.,

in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) as shall represent fair

and just compensation.

                                             Respectfully submitted,

                                             /s/ Carolyn S. Daley
                                             Attorney for Plaintiff

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Chicago, IL 60602
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